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                  UNITED STATES DISTRICT COURT
                  CENTRAL DISTRICT OF CALIFORNIA
                  OFFICE OF THE CLERK OF COURT


To:       Chief Deputy/Fiscal

Re:       Verification of Surrender to Bureau of Prisons or Report to United States
          Probation

          Case Number:   2:21−cr−00540−SB
          Defendant’s Name:  Paul O. Paradis

The above−named defendant was ordered to self−surrender to begin serving their sentence
of imprisonment on     1/8/2024 . The bond may be exonerated pending the verification as
to whether the defendant is being electronically monitored by the U.S. Probation Office;
confined to the custody of the Bureau of Prisons; or completed their jail time.

As of :    1/8/2024   , it was verified the defendant:

   has surrendered to the Bureau of Prisons      .



Verified via e−mail with the following:

U.S. Marshal: A. Bailon     (Name of Officer)




 January 9, 2024                                By        /s/ Grace Kami
 Date                                                Deputy Clerk




 CR−86 (11/08)                  VERIFICATION OF SURRENDER
